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12
                         UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14
15   UNITED STATES OF AMERICA,  )             Case No.
                                )
16                  Plaintiff,  )             COMPLAINT IN
17                              )             CONDEMNATION
          v.                    )             WITH DECLARATION OF
18                              )             TAKING
19   MINERAL INTERESTS IN 1,370 )
     ACRES OF LAND, MORE OR     )
20
     LESS, SITUATE IN SAN       )
21   BERNARDINO COUNTY,         )             30 U.S.C. §3114
22   CALIFORNIA; PAC OPERATING )
     LIMITED PARTNERSHIP, A     )
23   DELAWARE LIMITED           )
24   PARTNERSHIP, AS SUCCESSOR )
     TO CATELLUS DEVELOPMENT )
25
     CORPORATION, A DELAWARE )
26   CORPORATION; SAN           )
27   BERNARDINO COUNTY; AND     )
     UNKNOWN OWNERS,            )
28                              )
                    Defendants. )

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 1         1. This is an action of a civil nature brought by the United States of America
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     at the request of the Department of Navy, for the taking of property, under the power
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 4   of eminent domain through a Declaration of Taking, and for the determination and
 5   award of just compensation to the owners and parties in interest.
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           2. The Court has subject matter jurisdiction over this action pursuant to 28
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 8   U.S.C. § 1358.
 9
           3. The authority for the taking of the property is under and in accordance
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11   with the authorities set forth in Schedule “A,” which is attached hereto and made a
12   part hereof.
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14         4. The public purpose for which said interests in property are taken is

15   described in Schedule “B,” which is attached hereto and made a part hereof.
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           5. A legal description of the property being taken is set forth in Schedule
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18   “C,” which is attached hereto and made a part hereof.
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           6. Plats and surveys showing the property being taken is shown on Schedule
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21   “D,” which is attached hereto and made a part hereof.
22         7. The estates taken for said public uses and the estimated just
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     compensation therefore, are set forth in Schedules “E” and “F,” which are attached
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25   hereto and made a part hereof.
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           8. The names and addresses of known parties having or claiming an interest
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28   in said property are set forth in Schedule “G” attached hereto and made a part



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 1   hereof.
 2
           WHEREFORE, Plaintiff demands judgment that the property and interests
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 4   be condemned, and that just compensation for the taking be ascertained and
 5   awarded, and such other relief as may be lawful and proper.
 6
 7
     DATED: September 1, 2022              UNITED STATES OF AMERICA
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 9                                         s/ Charlotte Huffman
                                           CHARLOTTE HUFFMAN
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11
                                           Attorney for Plaintiff United States of
12                                         America
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